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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             16-CR-20549-SCOLA/OTAZO-REYES

   UNITED STATES OF AMERICA

   vs.

   PHILIP ESFORMES
   _______________________________/

                     Esformes’s Unopposed Motion to Continue Trial and
                      Quash Writ of Habeas Corpus ad Prosequendum

            1. During the forfeiture / restitution hearing held on November 21, 2019, the

   government asked that the Court “make an ends of justice finding on the hung counts under

   the Speedy Trial Act” that would “allow for an ends of justice continuance” of a retrial of

   the hung counts “until the resolution of Esformes’s appeal.” ECF#1460 (Transcript) at p.

   59-60.

            2. During that hearing, Esformes “object[ed] to the finding that the government is

   suggesting” and argued that if “the government is proposing to retry Mr. Esformes on the

   hung counts, we believe that’s time barred at this point . . . .” Id. at p. 60. Esformes orally

   “move[d] to dismiss the hung counts … as violative of the Speedy Trial Act and the speedy

   trial grounds, constitutional grounds.” Id.

            3. The Court invited a written response from the government in 10 days but later

   determined that briefing was not necessary. The Court issued an order that day denying the

   motion to dismiss and setting Counts 1, 14, 15, 22, 23, and 33 for retrial during the two-




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   week period commencing on January 21, 2020, with a calendar call set for January 14,

   2020. ECF#1458.

          4. Esformes trial attorney Howard Srebnick is co-trial-counsel of record in U.S. v.

   Avenatti, Case No. 19-Cr-373 (PGG) (SDNY), a criminal case firmly set for trial on

   January 21, 2020. Mr. Srebnick plans to be in New York from January 16, 2020 until the

   conclusion of that trial, which is expected to last two weeks.

          5. Without waiving his prior objections to a retrial on the hung counts, Esformes

   moves to continue the January 21, 2020 retrial until after the appeal of his convictions.

   Esformes has confirmed with undersigned his agreement that this motion tolls the speedy

   trial clock and that the requested continuance is in the interest of justice.

          6. Esformes requests that the Court quash the Writ of Habeas Corpus ad

   Prosequendum, ECF#1467, and alert the USMS that it is not required to transport Esformes

   to FDC-Miami.

          7. Today, counsel for the government confirmed that the government does not

   oppose the continuance.

                         Respectfully submitted,

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